Case 3:22-cv-00049-NKM-JCH Document 302-4 Filed 10/10/23 Page 1of2 Pageid#: 3747

EXHIBIT 4

Case 3:22-cv-00049-NKM-JCH Document 302-4 Filed 10/10/23 Page 2 of 2 Pageid#: 3748

From: Eckstein, Maya

Sent: Wednesday, May 31, 2023 10:55 AM
To: Tagert, Stephen
Cc: Moran, John S.; Tyler Brooks; Hoernlein, Michael; Wyer, Kathryn (CIV; Davison, Tom; Van

Winter, Samantha; Webb, Sidney; Rick Boyer; D. Yerushalmi; King, Jeremy; Powell, Lewis;
Elliker, Kevin; Fairbanks, R. Dennis; Ross, Michaela; Jenkins, Johanna;
BLAIR.CONNELLY@Iw.com; Damon.Porter@Iw.com; Ehson.Kashfipour@Iw.com;
Zachary.Rowen@Iw.com; ashai@elbiallylaw.com

Subject: RE: Doe v Mast third-party subpoena: John Gibson

Stephen, thank you for the letter. The letter does not state that McGuireWoods is representing Mr. Gibson in this
matter, but purports to make objections on his behalf. Unless you advise us otherwise, we will understand that your firm
is not representing Mr. Gibson.

Thank you.

Maya

Maya Eckstein

Partner
meckstein@HuntonAkK.com
p 804.788.8788

Dio | vCard

Hunton Andrews Kurth LLP
Riverfront Plaza, East Tower
951 East Byrd Street
Richmond, VA 23219

2200 Pennsylvania Avenue, NW
_ Washington, DC 20037

HuntonAkK.com

This communication is confidential and is intended to be privileged pursuant to applicable law. If the reader of this message is not the intended recipient, please advise by
return email immediately and then delete this message and all copies and backups thereof.
